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                                                                             December 1,2022

BY ELECTRONIC F'ILING ONLY
Hon. Hector Gonza\ez, U.S.D.J.
United States District Court
Eastern District of New York
225 CadmanPlazaEast, Courtroom 64.
Brooklyn, New York ll20l

           Re:     United States of America v. Michael Hanakis
                   Case No. 04-CR-61 9(S-1)-01(JB)

Dear Judge Gotualez:

        .We^ lepresent
                        defendant, Michael Hanakis, whose letter                      application (ECF 92) to be
relieved of his restitution obligalion in light of a settlement with                  Witts Fargo'Century, which
released all claims, or to _modi$ the restitution order was fully                     briefed on luly 22,- 2022 in
accordance with a schedule approved by the Court. As best as                          we can determine, the letter
motion remains pending and undecided.

       lgspi.te the full release by Wells Fargo Century, and despite the financial hardship to
Mr, Hanakis, he has continued to make restitution payments not iequired under his settlement
with Wells Fargo-while we await the Court's decision, iince the Government's opposition asserts
that the Court lacks authority 1o cancel restitution unless the victim has been fuliy compensated,
and the Marsh?l previously advised Mr. Hanakis that restitution payments are required absent a
Court Order relieving him of payment obligations.

        Under these circumstances, our client has asked that we inquire as to the status of a
decision on the letter motion. We would appreciate any information that the Court is able to
share as to when a decision might be forthcoming. Thank you for your understanding about this
request.

                                                                    Very truly yours,

                                                                    FORCHELLI DEEGAN TERRANA LLP


                                                                    Russell G. Tisman

cc: Daniel G Saavedra, Esq. (by ECF)




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